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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ARCH SPECIALTY INSURANCE COMPANY,


                                    Plaintiff,                          JUDGMENT
                                                                        17-CV-385(JBW)(KML)
                  - against –

 SEOUL GLASS & INTERIOR, INC.,

                                     Defendant.
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                  An Order of Honorable Jack B. Weinstein, United States District Judge, having

 been filed on November 21, 2017, directing the Clerk of Court to enter default judgment in the

 amount of $160,762.32; it is

         ORDERED and ADJUDGED that default judgment is hereby entered in favor of the

 Plaintiff and against the Defendant in the amount of $160,762.32.


 Dated: Brooklyn, NY                                                    Douglas C. Palmer
 November 22, 2017                                                      Clerk of Court

                                                                 By:   /s/Jalitza Poveda
                                                                         Deputy Clerk
